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                            UNITED STATES DISTRICT COURT ​
                              DISTRICT OF CONNECTICUT


    RALPH BIRCH,                                          No. 3:20-CV-1790 (VAB) ​
                                                          [rel. No. 3:20-CV-1792]
                          Plaintiff,
    -against-

    TOWN OF NEW MILFORD et al.,
                                                          March 20, 2025
                          Defendants.


        PLAINTIFF’S COMPUTATION OF OFFER OF COMPROMISE INTEREST​
                   AND REQUEST FOR ENTRY OF JUDGMENT

​       As noted on the record after the publication of the jury verdict, Plaintiff Ralph Birch

served and filed an offer of compromise pursuant to Local Civil Rule 68(b) and Connecticut

General Statute § 52-192a to Defendants Town of New Milford, Robert Santoro as

Administrator of the Estate of David Shortt, and Steven Jordan (the “Town Defendants”) on

October 25, 2021. See ECF No. 79.

​       The Town Defendants failed to accept the offer of compromise. The jury verdict in the

amount of $5,700,000.00 exceeds the compromise amount offered by Plaintiff.

​       Plaintiff is therefore entitled to 8% simple annual interest on the amount of the verdict,

which was awarded solely on causes of action pursuant to state law. See Conn. Gen. Stat.

§ 52-192a(c) (“If the court ascertains from the record that the plaintiff has recovered an amount

equal to or greater than the sum certain specified in the plaintiff's offer of compromise, the court

shall add to the amount so recovered eight per cent annual interest on said amount . . . .”).

Because Plaintiff served the offer of compromise within 18 months of commencing this action

on December 2, 2020, see ECF No. 1, the interest is calculated from the date this action was

filed. See Conn. Gen. Stat. § 52-192a(c) (The interest shall be computed from the date the
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    complaint in the civil action or application under section 8-132 was filed with the court if the

    offer of compromise was filed not later than eighteen months from the filing of such complaint

    or application.).1

    ​      Four years and 108 days elapsed between the commencement of this action on December

    2, 2020, and the jury’s verdict on March 19, 2025. Plaintiff is therefore entitled to 8% simple

    interest for each of the elapsed four complete years, plus (108/365) * 8% simple interest, or

    2.367% simple interest, for the remaining elapsed partial year, for a total of 34.367% simple

    interest on the verdict amount.

    ​      Pursuant to General Statute § 52-192a(c), Plaintiff is also entitled to a maximum of $350

    in reasonable attorneys’ fees. See Conn. Gen. Stat. § 52-192a(c).

    ​      The total amount of the Court’s judgment, before taxation of costs, should therefore be:

    ​      (134.367% * $5,700,000.00) + $350 = $7,659,269.00

    ​      Furthermore, as discussed at the charge conference, the parties agreed that, if judgment

    entered against any individual Defendant, judgment would also enter against the Town of New

    Milford pursuant to the sixth and seventh causes of action in the First Amended Complaint for

    indemnification under General Statute § 7-465 and direct action under General Statute

    § 52-557n, respectively.

    ​      Plaintiff therefore respectfully requests that the Court enter judgment against Defendants

    Town of New Milford and Robert Santoro as Administrator of the Estate of David Shortt in the

    amount of $7,659,269.00, plus taxable costs pursuant to 28 U.S.C. § 1920, Federal Rule of Civil




1
 ​       See generally Willow Springs Condo. Ass’n v. Seventh BRT Dev. Corp., 245 Conn. 1,
55-56 (1998) (discussing the purpose of General Statute § 52-192a, explaining the public policy
of “encourag[ing] fair and reasonable compromise between litigants by penalizing a party that
fails to accept a reasonable offer of settlement,” and collecting cases).
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Procedure 54, and Local Civil Rule 54, to be specified and substantiated by the filing of a bill of

costs by Plaintiff at the appropriate time by rule.



Dated:​       March 20, 2025​         ​       ​       THE PLAINTIFF,
                                                      RALPH BIRCH

                                                      By: /s/ Douglas E. Lieb
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